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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BARBARA MACK, aS ADMINISTRATRX
of the ESTATE of V/ILLIAM A. MACK, JR.,
deceased,

                      Plaintiff,                                 Civil Action No. 10-2142

             V.


VENTRACOR, INC., et al.

                      Defendants.




                                                   ORDER

             ANDNoV/,this-of-,20I0,uponconsiderationofp1aintiffsMotionto
Remand, and for costs, expenses, and attorneys' fees, and defendants Rohinton J. Morris, M.D.,

Michael           A. Acker, M.D., Mariell L.    Jessup, M.D. and the Trustees    of the University of
Pennsylvania's Response             in opposition thereto, it is hereby ORDERED that said Motion   is

DENIED.


                                                   BY THE COI.]RT



                                                                                J.




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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BAIìBAIL\ MACK, AS ADMINISTRATzuX
of the ESTATE of WILLIAM A. MACK, JR.,
deceased,

                   Plaintiff,                                 Civil Action No. 10-2142

            V.


VENTRACOR, INC., et al.

                   Defendants.




         CERTAIN DEFENDANTS' RESPONSE IN OPPOSITION TO PLAINTIFF'S
    MOTION TO REMAND AND FOR COSTS. EXPENSES AND ATTORNEYS' FEES

            Defendants, Rohinton J. Morris, M.D., Michael A. Acker, M.D., Marriell L. Jessup, M.D.

and the Trustees of the University      of Pennsylvania, tldlbla University of Pennsylvania, The

Hospital of the University of Pennsylvania and the University of Pennsylvania Health System, by

and through their counsel, Christie, Pabarue, Mortensen and Young, a Professional Corporation,

hereby respond in opposition to Plaintiffls Motion to Remand this action to the Philadelphia

County Court of Common Pleas, and aver as follows:

            For the reasons set forth in the accompanying Memorandum of Law, responding

defendants respectfully request that this Court deny plaintiff s motion to remand this action to

the Philadelphia Court of Common Pleas.




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                                             submitted




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                                       Attomeys for Defendants,
                                       Rohinton J. Morris, M.D.,
                                       Michael A. Acker, M.D.,
                                       Mariell L. Jessup, M.D. and
                                       the Trustees of the University of
                                       Pennsylvania




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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BARBARA MACK, AS ADMINISTRATRIX
of the ESTATE of WILLIAM A. MACK, JR.,
deceased,

                    Ptaintiff,                                  Civil Action No. l0-2I42

             V.


VENTRACOR, INC., et al.

                    Defendants.




                        CERTAIN DEF'ENDANTS' MEMORANDUM OF LAW
                  IN OPPOSITION TO PLAINTIFF'S MOTION TO REMAND AND FOR
                            COSTS, EXPENSES AND ATTORNEYS' FEES

             Defendants, Rohinton J. Morris, M.D., Michael A. Acker, M.D., Mariell L. Jessup, M.D.

and the Trustees        of the University of Pennsylvania, tldlbla University of Pennsylvania,    The

Hospital of the University of Pennsylvania and the University of Pennsylvania Health System, by

and through their counsel, Christie, Pabarue, Mortensen and Young, a Professional Corporation,

respectfully submit this Memorandum of Law in opposition to Plaintiffs' Motion to Remand and

for an award of costs, expenses and attorneys' fees.

             INTRODUCTION

             Responding defendants removed this matter from the Philadelphia Court of Common

Pleas to this Court on the basis that      plaintiffs Complaint raised issues involving substantial

questions of federal law thereby giving rise to federal court jurisdiction.     A copy of plaintiffls

Complaint is attached hereto as Exhibit      "4".   Specif,rcally, plaintiff contends in her Complaint

that responding defendants are liable for failing to properly obtain Mr. Mack's informed consent



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(Count          VIII) and for fraudulent misrepresentationl (Count IX) by allegedly misleading and
misrepresenting to Mr. Mack his legal rights based solely on the language in Research Subject

Informed Consent Form that Mr. Mack signed in connection with his participation in the clinical

tnal      aT.   issue. In particular, plaintiff takes issue with the language in the consent form which

provides that nothing in the informed consent "shall act to waive any of your legal rights or to

release the University           of   Pennsylvania Health System and School              of Medicine, the study

sponsor, Ventracor, Inc., or any of their agents from liability for negligence." See consent form

attached as Exhibit           "B" to plaintiffls Complaint at p. 11.       These claims raise issues involving

substantial questions of federal law based on specific federal regulations governing informed

consent in clinical trials.

                In Grable &   Sons Metal Products. Inc.     v. Darue Engr'g & Mf g , 545 U.S. 308 (2005),

the Supreme Court issued a landmark opinion which substantially clarified the legal grounds for

invoking federal question jurisdiction over state law claims. The Court reaffirmed

                      the commonsense notion that a federal court ought to be able to
                      hear claims recognized under state law that nonetheless turn on
                      substantial questions of federal law, and thus justify resort to the
                      experience, solicitude, and hope of uniformity that a federal forum
                      offers on federal issues.

Id., at 312. Further, the Grable Court specifically rejected the argument advanced by plaintiff in

her Motion to Remand that a federal private right of action was a prerequisite for exercising

federal question jurisdiction. Id. at          318.     The instant case clearly meets the requirements for

federal question jurisdiction pursuant to the Grable decision, as the entirety of plaintiff s claim

for batteryllack of informed consent and for fraudulent misrepresentation are based exclusively

upon an interpretation            of   regulations promulgated       by the United        States Food and Drug



t
    Plaintiff also appears to base her Breach of Fiduciary Duty Claim, Count X, on the same facts.

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Administration ("FDA") governing informed consent in clinical trials. See 2l C.F.R. $$ 50.20,

50.25,50.27.

            The United States has long taken a great interest in matters relating to research on human

subjects. The FDA promulgated its f,rrst regulations requiring informed consent of human

subjects following        a   Congressional mandate      in   1962 that consent      be obtained    from

patients/subjects in drug research. Abdullahi v. Pfizer. Inc.      ,562F.3d 163, I8212nd Cir.      2009).


One    of the principal sources on which the federal            government relied    in   outlawing non-

consensual human medical experimentation was the Nuremberg Code, which emphasized the

requirement that a human subject must voluntarily consent to undergo medical experimentation.

Id.   The Nuremberg Code was formulated and utilized in the prosecution of Nazi Germany

physicians for war crimes and crimes against humanity for conducting medical experiments

without the patients' consent. Id. at 178.

            Various federal agencies have adopted regulations to address human research studies in

the form of clinical trials. The "Common Rule" is the term used by federal agencies which have

adopted regulations governing human subjects of research. These regulations incorporate the

guidelines of the Belmont Report, which was published in 1978 by the National Commission for

the Protection of Human Subjects in Biomedical and Behavioral Research. The Belmont Report

identified basic ethical principles governing biomedical and behavioral research on human

subjects and emphasized the importance of informed consent. Abdullahi, supra at                I82.   The

regulations implemented by the FDA in accordance with the Common Rule and the regulatory

authority provided under the Federal Food, Drug and Cosmetics             Act,2l U.S.C. $ 301, et seq.

(and the Medical Device Amendments           of   1976) pertain to research studies (clinical trials) that

are designed to develop new drugs, medical devices and biological products, such as the medical




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device at issue in this case (a so-called left ventricular assist device, intended to help a weak

heart pump sufficient         blood). 21 C.F.R. $       50. 1, et   !eq.

             The FDA has issued detailed regulations addressing the subject of informed consent in

clinical trials relating to these products. 21 C.F.R. $$ 50.20, 50.25,50.27. Pursuant to the

Common Rule, these regulations largely mirror regulations promulgated by the United States

Department of Health and Human Services ("HHS") that apply to federally funded research. See

45 C.F.R. $$ 46.116,46.117. Among other requirements, the FDA regulations expressly state

that:

                      No informed consent, whether oral or written, may include any
                      exculpatory language through which the subject or the
                      representative is made to waive or appear to waive any of the
                      subject's legal rights, or releases the investigator, the sponsor'
                      the institution, or its agents from liability for negligence.

21 C.F.R. $ 50.20 (emphasis added). See also 45 C.F.R. $ 46.116 (equivalentHHS regulation).

The FDA regulations also specify information that must be provided to the research subject and

with regard to the documentation of informed consent by the use of a written consent form

embodying the elements identified by the FDA. 21 C.F.R. $$ 50.25, 50.27.2

             Here, the written consent form ("University of Pennsylvania Research Subject Informed

Consent Form") utilized by moving defendants for the clinical trial in which Mr. Mack enrolled,

addressed the FDA regulatory requirement quoted above by explicitly informing Mr. Mack that:

                      Nothing in this informed consent shall act to waive any of your
                      legal rights or to release the University of Pennsylvania Health
                      System and School of Medicine, the study sponsor, Ventracor,
                      lnc., or any of their agents from liability for negligence.

See       Exhibit "B" to plaintiff s Complaint at p.        11.




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    See   FDA list of requirement elements for informed consent set forth on p. 13, infra.

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             It is noteworthy that plaintiff dismissed an earlier action removed to federal court3
involving essentially identical claims and issues, but in which the Complaint filed by plaintiff

specifically cited federal regulations relating to informed consent in clinical research trials as the

legal basis for her claim for batterylinformed consent. See plaintifls Eighth Amended

Complaint f,rled in Barbara iMack v. Ventracor. Inc.. et al., CCP Phita. Cty., February Term,

2009, No. 633, attached hereto as Exhibit             "B". Specifically, plaintiff alleged as follows in the
Eighth Amended Complaint filed in the underlying matter:

             52.    The IRBa knew and understood the mandates of the Code of Federal
                    Regulations, 45 CFR 46, and the strictures of informed consent and the
                    informed consent process. Both Ventracor and the University of
                    Pennsylvania represented to William Mack that he had legal rights arising
                    out of the use of the VentrAssist by way of the informed consent form,
                    and have waived any affirmative defenses based upon preemption doctrine
                    and subject matter jurisdiction in that regard.

             L34. 45 C.F.R. $ 46.1 16 (General requirements             for informed consent) provides
                    in relevant partthat:

                           The information that is given to the subject or the representative
                           shall be in language understandable to the sub,iect or the
                           representative. No informed consent, whether oral or written, may
                           include any exculpatory languaþe through which the subject is
                           made to waive or appear to waive any of the subject's legal rights,
                           or releases or appears to release the investigator, the sponsor, the
                           institution or its agents from liability for negligence.

             139. The University of      Pennsylvania violated 45 C.F.R. $ 46, and the
                    "Common Rule", which applies to all federally regulated andlor funded
                    research performed at the University of Pennsylvania.

             I40.   At all times relevant hereto, the University of Pennsylvania had a "Federal
                    Wide Assurance" ["FWA"] in place, which was submitted to the Office of
                    Human Research Subject Protection of the U.S. Department of Health and
                    Human Services. The FWA acts as a contract between the institution and


' Plaintiffdismissed this action shortly after it was removed and subsequently refiled in the
                                                                                            state court again by way
of the Complaint that started the action that was removed to and is presently before the Court. (Exhibit "4" hereto.)

o
 The IRB is the Intemal Review Board, which is the hospital organtzationthat reviews and approves (or
disapproves) aspects ofproposed and operating clinical trials.


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                 the government and assures that research at the University of Pennsylvania
                 will be conducted in compliance with federal regulations and accepted
                 ethical principles.

         141. The research         conducted   on V/illiam Mack was not       conducted in
                 compliance with federal regulations and accepted ethical principles.

See   Exhibit "B" (emphasis in original).

         In an obvious attempt to avoid federal court jurisdiction, plaintiff dismissed the action in

which the aforementioned allegations were pled and filed a new Complaint in state court (the

action removed     to this Court by moving       defendants) absent the above allegations     or   any

reference   to   federal regulations goveming informed consent. Instead, plaintiff cites the

Pennsylvania Medical Care Availability and Reduction of Error ["MCARE"] Act, 40 P.S.                 $


1303.504, as the legal basis for her claim that responding defendants are liable for lack of

informed consent/battery and for fraudulent misrepresentation for allegedly misrepresenting Mr.

Mack's legal rights in the consent form. However, the state informed consent statute clearly has

no bearing whatsoever on plaintiff s theory of liability in this case.

         While the MCARE Act is applicable to procedures involving experimental devices, there

is nothing in the Act which provides that a health care provider must provide a patient with         a


description of his legal rights. Rather, the Act states, in pertinent part:

                 (b)     Description of procedure. - Consent is informed if the
                 patient has been given a description of a grocedure set forth in
                 subsection (a) and the risks and alternatives that a reasonably
                 prudent patient would require to make an informed decision as to
                 that procedure.

40 P.S. $ 1303.504 (emphasis supplied). Indeed, the MCARE Act is silent as to the required

content of an informed consent form or as relates to the issues of waiver of legal rights in the

context of informed consent, in stark contrast to the FDA and HHS regulations. Nowhere in her

Complaint does plaintiff contend that Mr. Mack was not informed by responding defendants of


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his medical procedure or the risks or alternatives of that procedure (which information is the

totality of what the Pennsylvania MCARE Act required for consent to be informed.s Although

plaintiff avers in the Complaint that Mr. Mack was not advised of true and accurate information

conceming the risks and altematives of the procedure, such claims are premised entirely upon

responding defendants' purported failure to properly inform him of his leeal rights, as opposed to

claims that he was not properly informed of the medical risks of the procedure or possible

medical alternatives. See Exhibit "A", Count VIII to Complaint,ll'Ï 180-184.

           While plaintiffs Eight Amended Complaint (Exhibit "8") may have made the federal

question at the heart of       plaintifls informed consent/battery claim6 more easily identifiable, the

Complaint now before the Court continues to demonstrate that the sole factual and legal basis for

the   plaintifls claims is not any violation of the Pennsylvania informed consent statute, 40 P.S. $

1303.504, but rather an alleged violation             of FDA regulations 21 C.F.R. $$ 50.20, 50.25               and

50.2'7, allegedly      by misrepresenting and otherwise making a "charade" of Mr. Mack's legal

rights.    See,   Exhibit " A" at 11 26, 7 0, 190.

           Despite plaintifls attempt to redefine her claim as being governed by interpretation of

state law, the issues raised herein relating              to informed consent rise or fall purely             under

interpretation      of applicable    federal regulations. Plaintiff is raising a direct challenge to the

requirements and meaning of FDA regulations relating to informed consent for clinical trials

involving medical devices such as the Ventracor VentrAssist LVA4 device surgically implanted

in Mr. Mack. The United               States has     a substantial interest in the need for uniformity of


5
    The consent formprovides detailed information regarding risks to and alternatives of the procedure. See consent
form, Exhibit   "8" to plaintiff s Complaint at pp. 5-7.
u
 The eighth Amended Complaint did not name any physician defendants and did not assert the fraudulent
misrepresentation nor breach of fiduciary claims contained in the Complaint (Counts IX and X) now before this
Court.


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interpretation      of its regulations goveming informed           consent   in clinical trials. Resolution of
plaintiffls claims necessarily turns on whether responding defendants complied with the federal

regulatory requirements for informed consent applicable to clinical trials like the one in which

Mr. Mack enrolled. Accordingly, the Court has jurisdiction over the subject matter of this case

and    plaintiffls Motion to Remand should be denied.

II.          FACTUAL AND PROCEDURAL BACKGROUND

             This matter involves claims relating to the death of plaintifls decedent, William A.

Mack, Jr., due to an alleged design defect                  in a medical   device provided by co-defendant

Ventracor,       Inc. Mr. Mack, then suffering from end-stage cardiac disease, was offered the
opportunity and agreed to participate in a federally-approved clinical research study involving

the VentrAssist LVA4 device provided by co-defendant Ventracor in an effort to save and

prolong his      life.   See   Exhibit "A" at flfl 55-63.

             Pursuant    to an Investigational      Device Exemption ("IDE") approved by the FDA,

Ventracor worked with the FDA to design clinical trial protocols for the VentrAssist LVA4

device which were utilized at more than twenty research centers, including the Hospital of the

University of Pennsylvania ("HUP").                An IDE allows   the investigational device to be used in

a   clinical trial in order to collect safety and effectiveness data required to support a Premarket

Approval application or a Premarket Notification submission to the FDA. See 21 C.F.R. $ 812.

             As plaintiff previously asserted in her previously filed Complaint, prior to the submission

of the IDE application to the FDA, meetings were held involving individuals associated with

Ventracor, the FDA and HUP "to formulate with the FDA a proposal for a controlled clinical

trial for the purpose of determining the safety and efnicacy of the VentrAssist utilizing human

research subjects, and to obtain feedback, revisions and guidance from the              FDA on the research



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proposal." See Exhibit "8", T 45. Plaintiff further averred that the HUP Institutional Review

Board "knew and understood the mandates of the Code of Federal Regulations regarding the use

and protection of human subjects in clinical research, 45 C.F.R. 46 and the strictures of informed

consent and the informed consent process."              Id,n    52.


          Plaintiff initially filed suit more than one year ago in the Philadelphia Court of Common

Pleas against HUP and co-defendant, Ventracor, Inc. based on the same subject matter                                as


involved in the action herein. On February 19,2010, more than one year after plaintiff filed her

original Complaint in the underlying action, plaintiff filed the Eighth Amended Complaint

attached as Exhibit          "8"   and, for the first time, asserted a cause of action for battery against HUP.

Plaintiff asserted in that version of the Complaint that HUP was liable for battery based on                         a


failure to adhere to the informed consent provisions set forth in federal regulations, specifically

45 C.F.R. $ 46.1 167 andthe Common Rule. Plaintiff relied upon these regulations to support her

claim that the Hospital made material misrepresentations regarding the patient's legal rights                       as


described in the informed consent form presented to Mr. Mack prior to his surgery. See Exhibit

"8,"   1l1l   r32   - 142.
          On the basis of 28 U.S.C. $1331, federal question jurisdiction, defendants removed the

underlying action to the Eastern District of Pennsylvanía. Barbara Mack v. Ventracor. Inc.. et

aL.,5:10-CV-01I21. The underlying action was then voluntarily dismissed by plaintiff on March

26,2010. The action atbar was filed via Complaint on March 3I,2010, only five days later.

          In    Count        VIII of the Complaint before the Court, plaintiff pleads a claim                      for

battery/informed consent against responding defendants as she did in the underlying action. In

Count IX, plaintiff also asserts a new claim for fraudulent misrepresentation based upon the

7
  As noted above, 45 C.F.R. $ 46.116 was promulgated by the Departrnent of Health and Human Services. The
identical provisions relating to informed consent which are applicable to FDA-approved clinical trials are set forth at
21 C.F.R. $$ 50.20 and50.25.


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language of the consent form. As was asserted in the underlying action, plaintiff takes particular

issue with the following language set forth in the informed consent form signed by Mr. Mack:

                    Nothing in this informed consent shall act to waive any of your
                    legal rights or to release the University of Pennsylvania Health
                    System and School of Medicine, the study sponsor, Ventracor,
                    lnc., or any of their agents from liability for negligence.

See consent form,       Exhibit "8" to Plaintiff s Complaint at p. 1 1 (emphasis added). Plaintiff avers

that the inclusion of such language in the consent form amounted to a"charade and illusion" that

Mr. Mack retained a fuIl panoply of legal rights and obligations, as allegedly was demonstrated

by the legal defenses asserted by responding defendants in the underlying action. See Exhibit

"A' atnn26,70,190.
             Responding defendants timely removed the matter            to this Court on May 10, 2010.

Plaintiff subsequently moved for remand of the action to the Philadelphia County Court of

Common Pleas.

ilI.         LEGAL ARGUMENT

             A.     Leeal Standard for Removal

             The pertinent statute regarding removal of actions from state court to federal court is 28

U.S.C. $ 1aa1(a) which provides that:

                    Except as otherwise expressly provided by Act of Congress, any
                    civil action brought in a state court of which the district courts of
                    the United States have original jurisdiction, may be removed by
                    the defendant, or the defendants, to the district court of the United
                    States for the District and Division embracing the place where such
                    action is pending.

The statute which allows the district court to exercise jurisdiction involving a federal question is

28 U.S.C. $1331, which provides that "the district courts shall have original jurisdiction of all

civil actions arising under the Constitution, laws,       or treaties of the United States."   A   case "arises


under" federal law within the meaning of $1331            "if   a well-pleaded complaint establishes either

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that federal law creates the cause of action or that the plaintiff s right to relief necessarily

depends   on resolution of a substantial question of federal law," Empire Health                      Choice

Assurance. lnc. v. McVeigh,547 U.S. 677,690 (2006) (quotingFranchise Tax Bd. of Calif. v.

Construction Laborers Vacation Trust for Southern Cal., 463 U.S. 1 (1983).

        Federal regulations are considered to have the same binding legal effect as statutory law,

as long as the regulations are a reasonable interpretation           of the underlying statute. Chevron

U.S.A.. lnc. v. Natural Resources Defense Council. Inc., 461 U.S 837, 843-44 (1984). As the

Supreme Court has noted,           "the power of an administrative agency to administer                     a


congressionally created          program necessarily requires the formulation of policy and the

making of rules to    fill any gap left, implicitly   or explicitly, by Congress. Morton v. Ruiz. 415

u.s. r99, 23r (T974).

        In Grable & Sons Metal Products. Inc. v. Darue Engr'g & Mf g, 545 U.S. 308 (2005) the

Supreme Court discussed the application         of federal      question jurisdiction and announced the

following test:

                  [T]he question is, does a state-law claim necessarily raise a stated
                  federal issue, actually disputed and substantial, which a federal
                  forum may entertain without disturbing aîy congressionally
                  approved balance of federal and state judicial responsibilities.

Id,   545 U.S. at   314.   See, also, Koresko    v. Murph)', 464 F. Supp. 2d 463 (E.D. Pa. 2006)

(plaintiffs motion for remand denied since plaintiff          s claim of rescission   of contract necessarily

raised a federal issue); McClure Telephone Co. v. AT&T Communications of Ohio. lnc.. et al.

650 F. Supp. 2d 699 (1.{.D. Ohio 2009) þlaintiffls motion for remand denied since substantial

federal question raised as to whether the first leg of an international call that occurs intrastate
                                                                        'Wirth
constitutes an international call for jurisdictional purposes);                  v. Aetna U.S. Healthcare,

2004 U.S. Dist. Lexis 1787 (8.D. Pa. 2004) (plaintiff s motion for remand denied since claims


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are completely preempted by ERISA and the federai court has subject matter jurisdiction over

them.); Nicodemus v. Union Pacific Corp., 440 F.3d 1227            (l}th Cir. 2006) (federal forum    is


appropriate      in   case where contested interpretation    of federal land-grant   statutes between

landowners and railroad company involved a substantial federal issue.)

            B.    Plaintiffls Complaint Raises Substantial and Disputed Federal Issues
                  Regarding Informed Consent Making Federal Court the Appropriate
                  l'orum for This Matter

                  1.       Federal question jurisdiction is appropriate based on the federal
                           government's substantial interest in ensuring that informed consent is
                           properlv obtained from research subiects in clinical trials

            The FDA regulation found at     2I    C.F.R $ 50.20 provides general requirements for

informed consent of human subjects:      "...   no investigator may involve a human being as a subject

in research covered by these regulations unless the investigator has obtained a legally effective

informed consent of the subject or the subject's legally authorized representative." This section

fuither provides that       "... no informed consent, whether oral or written,       may include any

exculpatory language through which the subject or the representative is made to waive or appear

to waive any of the subject's legal rights, or releases or appears to release the investigator, the

sponsor, the institution, or its agents from liability for negligence." 21 C.F.R. $ 50.20. See also

45 C.F.R $ 46.116. This section is at the heart of plaintiffs battery and                    fraudulent

misrepresentation claims against HIIP and Drs. Morris, Acker and Jessup. Plaintiff is alleging

that defendants misrepresented to Mr. Mack his legal rights by advising him that execution of the

consent form did not waive his legal rights to pursue a claim for negligence.      Plaintiff claims that

defendants' subsequent actions in pleading various defenses to her numerous forms of Complaint

is evidence that the consent form amounted to a "charade" and an "illusion" (See Exhibit"A"           at


nn26,70, t90.)



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             The federal government's compelling interest in issues relating to informed consent is

apparent based on the detailed requirements set forth in the regulations for a researcher to follow

in obtaining informed consent. In addition to the requirements noted above, 21 C.F.R. $ 50.25

provides in relevant part:

                    (a) Basic elements of informed consent. In seeking informed
                    consent, the following information shall be provided to each
                    subject:

                    (1)        a statement that the study involves research, an explanation
                    of the purposes of the research and the expected duration of the
                    subject's participation, a description of the procedures to be
                    followed, and identification of aîy procedures which are
                    experimental.

                    (2) a        description      of   any reasonably foreseeable risks or
                    discomforts to the subject.

                    (3)        a description of any benefits to the subject or to    others
                    which may reasonably be expected from the research.

                    (4) a         disclosure    of appropriate alternative procedures or
                    courses     of treatment,   if any, that might be advantageous to the
                    subject.

                    (5) a         statement describing       the extent, if any, to which
                    confidentiality     of   records identifying       the subject wiil   be
                    maintained...

                    (6) for research involving               more than minimal risk,      an
                    explanation as to whether aîy compensation and an explanation         as
                    to whether any medical treatment arc available if injury occurs...

                    (7)    an explanation of whom to contact for ansv/ers to pertinent
                    questions about the research and research subjects' rights...

                    (8)        a statement that   participation is voluntary...

Further, 21 C.F.R.        ç   50.27 mandates that "informed consent shall be documented by the use of a

written consent form approved by the IRB and signed and dated by the subject or the subject's

legally authorized representative at the time of consent." The consent form must either embody



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the elements of informed consent set forth in $ 50.25 or a short form may be used which states

that those elements have been presented orally. 21 C.F.R. ç 50.27.

           Furthermore, in addition to providing specific guidelines as to information that must be

contained in a consent form used in a clinical trial, the FDA exercises oversight of clinical trials

through an inspection and enforcement regime to ensure that regulatory violations which occur

are corrected, including those pertaining to informed consent. When deficiencies are found, the

FDA may issue      a   warning letter. For example, warning letters are issued by the FDA against the

sponsor of a clinical trial for failure to protect a subject's legal rights pursuant to 21 C.F.R.   $


50.20, for including exculpatory language in a release in contravention of the federal requirement

and for failing to obtain proper informed consent by failing to include all of the "eight basic

elements" required for an informed consent document pursuant to 21 C.F.R. $ 50.25. See, e.g.,

January 19, 2007 FDA warning letter to Avlon Industries, attached hereto as Exhibit "C"

(available to the public on the FDA website). FurtherTnore, pursuant to 21 C.F.R. $ 812.119, the

FDA has the authority to disqualify a clinical investigator for repeated violations of FDA

regulations, including failure      to   obtain proper informed consent based on the regulatory

requirements. See, e.g., August 24, 2005 Notice of Initiation of Disqualification Proceedings

and Opportunity to Explain to Jeffrey          L. Mcleod, M.D., attached     hereto as Exhibit "D"

(available to the public on the FDA website).

           The FDA regulations and enforcement mechanism described above demonstrate the

federal government's compelling interest in clinical trials and in particular as relates to issues

relating to informed consent. The government regulations are clearly controlling and the Court

will have to interpret them to resolve the issue of whether defendants obtained proper informed




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consent from Mr. Mack. As such, there is a substantial federal question which requires that this

action should be resolved in a federal forum.

                  2.        Plaintiff may not avoid removal jurisdiction by avoiding reference in
                            the Complaint to federal regulations governing informed consent in
                            clinical trials

         Plaintiff relies on the "well-pleaded Complaint rule" for the proposition that "the party

who brings suit is master to decide what law he will rely on." (Ssg The Fair v. Kohler Dye and

Specialty Co. , 228 IJ .5. 22 (19T3)). At the same time, however,                 "it is an independent corollary to

the well-pleaded Complaint rule that a plaintiff may not defeat removal by omitting to plead

necessary federal questions           in a complaint."            Franchise Tax Bd.       v.   Construction Laborers

Vacation Trust, 463 U.S.         I,22 (1983). Under the "artful pleading" doctrine, a plaintiff                   may not

"avoid removal jurisdiction by artfully casting ... essentially federal law claims as state-law

claims." McClure Telephone Co., supra, at705. The "artful pleading doctrine" allows federal

courts to exercise jurisdiction, even when a federal claim does not appear on the face of the

plaintiff   s complaint,    if (1) federal law has completely preempted the state law that serves as the

basis for plaintiffls complaint, or (2) a federal question, not pleaded in the plaintiff s complaint,

is nonetheless both intrinsic and central to the plaintiffls cause of action. Guckin. et.al. v.

Deborah Nagle. et.al .,25g F.Supp. 2d. 406,410 (E.D. Pa. 2OO3)(citations omitted)8.

         In the Complaint filed in this action, the artful pleading doctrine is clearly applicable in

light of plaintiff s omission of reference to federal regulations governing informed consent in

clinical trials    -   which regulations plaintiff herself cited and relied upon                     in a prior action

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  Guckin is factually similar to the instant matter in that plaintiff alleged injury in the course of her participation in a
clinical trial of an investigational medical device. The District Court ultimately granted plaintiff s motion to remand
the case to state court, finding, inter alia, that no substantial federal question was presented. Guckin, however, is
readily distinguishable from the instant matter in that it was decided before the Supreme Court's decision in Grable,
and followed certain pre-Grable case law, in concluding that the availability of a federal remedy for violating a
federal statute was a prerequisite for the exercise offederal questionjurisdiction. As discussed infra, this conclusion
was specifrcally disavowed by the Supreme Court of the United States in its Grable opinion.


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involving the same claims and substantially similar averments. See Exhibit             "8".   Plaintiffs

dismissal of the prior action in which she relied upon the federal regulations for relief belies her

contentions that the conduct herein is actionable under the Pennsylvania MCARE Act, which on

its face has no applicability to the alleged factual basis for claims asserted herein. The FDA (and

HHS) regulations necessarily invoke substantial federal questions pertaining to informed consent

and experimentation regarding human subjects. See 21 C.F.R. $50.20;45 C.F.R. $46.116. The

meaning and interpretation of these regulations are essential to a resolution of plaintiff s state

law claims for battery and fraudulent misrepresentation.

              The Supreme Court's decision in Grable, supra, is instructive as to the type of state law

claim which presents a substantial issue of federal law permitting the exercise of federal question

jurisdiction. The petitioner in Grable was a company which owned property in Michigan that

was seized by the IRS as a result of a tax delinquency. The IRS subsequently sold the property

to a second company in a tax sale. The petitioner brought a quiet-title action in Michigan state

court against the company which purchased the property from the IRS. Petitioner Grable alleged

that the sale was invalid because the IRS had not given adequate notice within the meaning of a

federal statute requiring notice. Grable, 545 U.S. at       3II.   Respondent Darue removed the case to

federal court on the basis that it presented a federal question because the claim of title depended

on the interpretation of the federal tax statute regarding notice. The District Court denied

petitioner Grable's motion to remand the case, finding that the claim posed a significant question

of federal law and that Grable's lack of a federal right of action did not bar the exercise of

federal       jurisdiction. The Court of Appeals for the Sixth Circuit affirmed.




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            The Supreme Court gtanted certiorari on the jurisdictional question alone and affirmed

the Sixth Court's decision. Acknowledging that federal-question jurisdiction is typically invoked

by plaintiff    s   pleading a cause of action under federal law, the Court stated:

                     There   is, however, another longstanding, if less frequently
                     encountered, variety of federal "arising under" jurisdiction, this
                     court havingrecognized for nearly 100 years that in certain cases
                     federal-question jurisdiction will lie over state-law ciaims that
                     implicate significant federal issues. The doctrine captures the
                     common sense notion that a federal court ought to be able to hear
                     claims recognized under state law that nonetheless turn on
                     substantial questions of federal law, and thus justified resort to the
                     experience, solicitude, and hope of uniformity that a federal forum
                     offers on federal issues.

Id.,545 U.S. at 3I2 (citations omitted). The Court determined that whether Petitioner was given

notice within the meaning of the Federal statute was an essential element of its quiet-title claim.

"The meaning of the federal tax provision is an important issue of federal law that sensibly

belongs in a federal court." Id. at 318.

            Similarly, in the instant matter, whether defendants appropriately obtained Mr. Mack's

consent within the meaning of the federal regulations goveming informed consent is an essential

element of plaintiff s battery and fraudulent misrepresentation claims. Plaintiff contends that

HIIP and the physician-defendants failed to obtain Mr. Mack's informed consent to participate in

the FDA regulated VentrAssist Study. Specifically,           plaintiff alleges that:

                     V/illiam Mack was not advised by his University of Pennsylvania
                     healthcare providers of any limitation on his legal rights in the
                     event that he was implanted with a defective VentrAssist LVA4, or
                     that either the University of Pennsylvania andlor Ventracor
                     believed, at the time he executed the Consent Form, that he had
                     no substantive legal rights in relation to his recruitment into
                     and participation in the VentrAssist Study, or arising out of the
                     implantation of a defective VentrAssistLVA4 into his body.




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See   Exhibit "4" at \ 179 (emphasis added). In particular, plaintiff has challenged the language

of the consent form signed by Mr. Mack based on the assertion that it misrepresented to Mr.

Mack his legal rights.

             The Grable Court noted that in determining whether a federal question is a substantial

one, courts should inquire into whether resolution of the issue in federal court would benefit

from "the advantages thought to be inherent in afederal forum." Id., 545 U.S. at 313. Just        as   the


Grable Court recognized the strong federal interest in tax litigation, this Court should recognize

the strong federal interest in the regulation of clinical trials involving human subjects              and


particularly the need for uniform application             of FDA and HHS      regulations pertaining to

informed consent. Rather than tipping the balance of division of labor between federal and state

courts, federal jurisdiction in this matter is necessary to maintain uniform standards regarding

informed consent. This case arises in the broader context of an FDA-approved clinical trial

involving a medical device.          It is readily apparent   that there is a strong federal interest in

ensuring for the consent        of   research subjects    in medical experimentation   and a consistent

interpretation of federal regulations goveming informed consent.

             Other Courts addressing the scope of the Grable decision have focused on whether the

"federal question" presented is one that is essentially a pure question oflaw as opposed to being

fact and situation specific. See Pennsylvania Employees Benefit Trust Fund (the "Fund") v. Eli

Lilly &       Company. Inc.. et.al. ,2007 WL 2916195 (8.D. Pa. October 5,2007). In that case, the

Fund filed a iawsuit in state court against defendant pharmaceutical companies alleging, among

other things, that the companies promoted and marketed their respective drugs for non-medically

necessary uses and caused             the Fund's participants to improperly submit claims for
reimbursement by the Fund. Defendants argued that the FDA's exclusive control over labeling




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of medicines required a federal forum for the resolution of plaintiff s claims. The Court granted

plaintiffls motion to remand finding that the central dispute in this               case   involved a factual issue,

i.e., whether the defendants' advertising and promotion methods violated Pennsylvania tort law,

as opposed         to interpretation of federal law. Id. at *5-6.

              The difference between this case and Penns)¡lvania Emplo]¡ees Benef,rt Trust Fund' supra'

is that the issues presented to this Court are not "fact-bound" and "situation-specific", as was the

case   in Penns]¡lvania Employees Benefit Trust Fund. Id.            at*4. Rather, as in Grable, !!PIa, this
case involves a pure issue          of law   - the required information that must be presented to a clinical
research subject in the context of obtaining informed consent as to legal rights (and non-waiver

thereof) pursuant to an FDA-approved clinical                trial. Further,   as   in Grable, and in contrast to

Pennsylvania Employees Benefit Trust Fund, the claims asserted by plaintiff tum on disputed

issued of federal law, in this case specific FDA regulations addressing informed consent. The

Court's resolution of these issues will help to guide informed consent for all research patients

participating in clinical trials. Accordingly, this Court may and should exercise jurisdiction over

this litigation, in order to address this substantial federal question.

              C.      A Federal Private Cause of Action is Not a Condition for the Exercise of
                      F ederal Ouestion Jurisdiction


              Plaintiff   asserts that since none   of the federal regulations cited by defendants allow for       a


federal private right of action or remedy, there is no basis for the exercise of federal question

jurisdiction for plaintiff s state tort claim of battery. In Grable, supra, however, the Supreme

Court, commenting on its earlier decision in Merrell Dow Pharmaceuticals Inc. v. Thompson,

478 U.S. 804 (1986), specifically rejected this viewpoint, finding that a federal cause of action is

not   a   requirement for exercising federal question jurisdiction:

                      Accordingly, Merrell Dow should be read in its entirety as treating
                      the absence ofa federal private right ofaction as evidence relevant

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                        to, but not    dispositive   of, the "sensitive     judgments about
                        congressional intent" that $1331 requires.

Id., 545 U.S. at 318.

            Plaintiff relies on Gonzaqa Univ. v. Doe, 536 U.S. 273 (2002) and Cort v. Ash,422U.S.

66 (1975) to support her argument that federal court jurisdiction is not appropriate where the

federal law, here the federal regulations noted above, do not provide for a federal right of action

or an inferred right of action. From the outset, it is noteworthy that neither Gonzaga nor Cort

addressed the issue of whether the federal court had subject matter jurisdiction on the basis                  of   a


federal question being presented. Both cases arise from completely different procedural postures

than from the instant matter. Both cases were decided prior                         to the    Supreme Court's

Grable decision; both involved plaintiff attempting             to   assert a private claim under a federal

statute where no private claim was provided; and, both involved administrative schemes to

address the circumstances from which plaintiffs asserted that their actions arose.e

            Defendants do not atgu;e that a federal private right of action was created as a corollary to

the regulations involving informed consent in this matter. There is, however, a basis to conclude

from the text and structure of the regulations themselves that Congress intended these regulations

to be construed, if necessary, in a federal court setting. See Alexander v. Sandoval , 532 U .5. 27 5

(2001). The regulations fall under the category of "Protection                 of Human       Subjects" and are

phrased         in terms of the persons benefitted- those       persons who become subjects             of human

experimentation. The meaning and interpretation of these regulations in the context of the

FDA's protocol for use of an investigational medical device requires that a federal forum address

plaintiff       s   battery claim.




n
 Notably, plaintiff s memorandum in support of her request for remand neither cites not discusses the controlling
Grable opinion.

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IV.    PLAINTIFF IS NOT ENTITLED TO FEES OR COSTS WERE THIS
       COURT TO DECLINE TO EXERCISE JURISDICTION OVER THIS MATTER

       Plaintiff has moved for an award of costs and attorney's fees incurred as a result of the

removal pursuant to 28 U.S.C. $ IaaT@). The Supreme Court has held that "fa]bsent unusual

circumstances, courts may award attorney's fees under $ 1aa7(c) only where the removingparty

lacked an objectively reasonable basis for seeking removal. Conversely, when an objectively

reasonable basis exists, fees should be denied." Martin v. Franklin Capital Corp., 546 U.S' 132,

14I (2005). If removal is patently "frivolous" or "insubstantial," then granting attomey fees is

appropriate. Mints v. Educ. Testing Serv., 99 F.3d 1253, 1267 (3d Cir. 1996).       It is axiomatic

that "removal is not objectively unreasonable solely because the removing party's arguments

lack merit." Lussier v. Dollar Tree Stores. Inc., 518 F.3d 7062,1065 (9th Cir. 2008).

       In this case, regardless of the Court's ultimate determination of the issue of whether there

is a substantial question of federal law that gives rise to federal court jurisdiction, it cannot

reasonably be contended that responding defendants have acted in a fashion that would justify an

award of sanctions pursuant to 28 U.S.C. $ 1aa7(c). The legal arguments set forlh above in

support of responding defendants' opposition to plaintiffls motion for remand clearly establish

that responding defendants acted in an objectively reasonable basis in removing the case to

federal court. See First American Marketing Corp. v. United Inteerity Group, 2009 U.S. Dist.

LEXIS 63721(E.D. Pa. Júy 22,2009) (Stengel, J.) (Court declined to award attorneys        fees and


costs where defendants' contentions in support   of federal court jurisdiction were not "manifestly
                                                                                          *3 (E.D.
frivolous"); U.S. Healthcare. Inc. v. Reliastar Fin. Corp. , 1996 U.S. Dist. LEXIS 18963,

Pa. December 16,1996) (Hutton, J.) (An award of fees and costs pursuant to $ 1447 shouldbe

granted "only where the removal of the case was made in bad faith and was cleariy without legal

support."); Kostmayer Construction. LLC v. MR Pittman Group. LLC, 2007 U.S. Dist. LEXIS


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97I77 (E.D. La. December 19,2007)(Court denied request for attorney's fees and costs based on

determination that defendant had not acted in bad faith in seeking removal and removability of

the suit did not rest on application of a bright line rule).

              Accordingly, even if the Court declines to accept jurisdiction and orders that the case be

remanded to state court, plaintiff s request for attorney's fees and costs should nevertheless be

denied.

V.            CONCLUSION

              For the reasons set forth in this Memorandum of Law, responding defendants respectfully

request that this Honorable Court deny        plaintiff   s    Motion to Remand this case to the Philadelphia

County Court of Common Pleas. A form of Order is submitted for the Court's consideration.




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Dated:         I h lrc

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                                     CERTIFICATE OF SERVICE



             Richard S. Margulies, Esquire, hereby certifies that on this date he caused Defendants'

Response        In   Opposition To Plaintifls Motion To Remand and For Costs, Expenses and

Attorneys' Fees and Memorandum of Law In Support, to be served by electronic means and U.S.

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